            Case 2:08-cr-00376-WBS-AC Document 615 Filed 06/01/15 Page 1 of 1


     Timothy E. Warriner (SB#166128)
 1   Attorney at Law
     428 J St., Suite 350
 2   Sacramento, CA 95814
     (916) 443-7141
 3
     Attorney for Defendant,
 4   Leonard Williams
 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                   )    No. 2:08-cr-00376-06 WBS-GGH
     UNITED STATES OF AMERICA,                       )
 9                                                   )    STIPULATION AND ORDER FOR
                     Plaintiff,                      )    TRANSCRIPT OF IN CAMERA
10                                                   )    PROCEEDINGS
            vs.                                      )
11                                                   )
     LEONARD WILLIAMS,                               )
12                                                   )
                     Defendant                       )
13
             On February 23, 2014, the court held an in camera hearing concerning status of counsel.
14

15
             Defense counsel requests that the court order that the above in camera proceeding be

16   transcribed. Since the issues addressed at the in camera discussion will be the subject of the

17   appeal, both counsel for Mr. Williams and the United States Attorney shall have access to the
18   transcript.
19
     DATED: May 29, 2015                                   /s/ Timothy E. Warriner, Attorney for
20                                                         Defendant, Leonard Williams

21   DATED: May 29, 2015                                   /s/ Christopher S. Hales, Assistant U.S.
                                                           Attorney
22

23
     IT IS SO ORDERED
24   Dated: May 29, 2015
25

26

                                                      1
